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 1
                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 2                             EASTERN DIVISION
 3
     MICHAEL DAVID PEARSON,
 4

 5                Plaintiff,
 6
           v.                               Civil Action No. 5:19-CV-1682-MAA
 7

 8   COMMISSIONER OF
     SOCIAL SECURITY,
 9

10                Defendant.
11
                  ORDER AWARDING EQUAL ACCESS TO JUSTICE
12              ACT ATTORNEY FEES PURSUANT TO 28 U.S.C. §2412(d)
13
           Based upon the parties’ Joint Stipulation for the Award and Payment of Equal
14
     Access to Justice Act Fees, IT IS ORDERED that fees in the amount of $7,500.00,
15
     as authorized by 28 U.S.C. §2412, and $400.00 to be paid from the Judgment Fund,
16

17
     be awarded subject to the terms of the Stipulation.

18

19

20   Dated: 06/30/20                 __________________________________
                                          Judge Maria A. Audero
21
                                          United States Magistrate Judge
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